Case 3:21-cv-06536-EMC Document 154-2 Filed 11/16/22 Page 1 of 5
Case 3:21-cv-06536-EMC Document 154-2 Filed 11/16/22 Page 2 of 5
Case 3:21-cv-06536-EMC Document 154-2 Filed 11/16/22 Page 3 of 5
Case 3:21-cv-06536-EMC Document 154-2 Filed 11/16/22 Page 4 of 5
      Case 3:21-cv-06536-EMC Document 154-2 Filed 11/16/22 Page 5 of 5




 1                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2                  I, Sam Stake, attest that concurrence in the filing of this Declaration of Naiyong Yan
 3
     Filed in Support of BabyBus Defendants’ Motion to Seal has been obtained from the signatory of
 4
     this declaration. I declare under penalty of perjury that the foregoing is true and correct. Executed
 5
     on November 16, 2022.
 6
                                                                  /s/ Sam Stake
 7
                                                                  Sam Stake
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                                                       4                          Case No. 3:21-CV-06536-EMC
                                                                                             YAN DECLARATION
